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IN THE UNITED srArEs DisrRiCr CoURT man sr §_ D_C_
FoR THF, WESTERN DISTRICT oF TENNESSEE
WESTERN DrvrsIoN 05 AUG -2 PH 2: 39
UNITED sTArEs oF AMERICA, )
)
Piaimiff, ) cR. No. 05-20178_13
)
vs. )
)
ELIJAH LESTER, )
)
Defendant, )

ORDER

 

Upon consideration of the Government's Motion to Allow Disclosure of Sealed Search
Warrant and Title III Materials in Discovery, it is hereby:

ORDERED, ADJUDGED AND DECREED that copies of the following documents may
be provided to the defendant and his attorneys in Unired Srates v. Ely'ah Lester, Cr. No. 05-
20178-B:

l. the search Warrants and applications in Misc. Nos. OS~SW-OSG (W.D. Tenn.), and 05-

SW-OIOIZ (E.D. Ark.); and

2. the Title III applications, orders and affidavits in Misc. No. 04-WT-001 (W.D. Tenn.)

dated July 9, 2004, and August 13, 2004.

IT lS FURTHER ORDERED that the above-mentioned documents and their contents
shall not be discussed, disseminated or disclosed to anyone other than the named defendant and
his counsel, or the staff of his counsel (full time secretaries and attorneys formally associated
with the law linn), except upon the express authorization of this Court.

lT IS FURTHER ORDERED that the above-mentioned documents that are currently

under seal shall remain sealed after the attorneys have been provided copies.

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IT IS FURTHER ORDERED that any attorney receiving the above-described items is not

to disclose any information therein other than to prepare for trial and for the defense of his/her

client. D
Date: Y Dd/ M

Memph s, ennessee nit Ud States Distn`ct Court dege

APPROVED:

    

T omas A. Colthurst
Assistant U.S. Attorney

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20178 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

